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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
UNITED STATES OF AMERICA                                      Consent
                                                              Order of Restitution
               v.

DAVID CORREIA,

Defendant.                                                    Docket No. S1 19 Cr. 725 (JPO)
__________________________________

        Upon the application of the United States of America, by its attorney, Audrey Strauss,

United States Attorney for the Southern District of New York, Rebekah Donaleski, Nicolas

Roos, and Aline Flodr, Assistant United States Attorneys, of counsel; the presentence report; the

Defendant’s conviction on Counts Two and Seven of the above Indictment; and all other

proceedings in this case, it is hereby ORDERED that:

        1.     Amount of Restitution

        DAVID CORREIA, the defendant, shall pay restitution in the total amount of $2,322,500

pursuant to 18 U.S.C. § 3663; 18 U.S.C. § 3663A (MVRA), and 18 U.S.C. § 3664, to the victims

of the offense charged in Count Seven. The names, addresses, and specific amounts owed to each

victim are set forth in the Schedule of Victims, attached hereto as Schedule A. Upon advice by

the United States Attorney’s Office of a change of address of a victim, the Clerk of the Court is

authorized to send payments to the new address without further order of this Court.

               A.      Joint and Several Liability

        Defendant’s liability for restitution shall be joint and several with that of other defendants

ordered to make restitution for the offenses in this matter, to the extent specified in the orders of

restitution applicable to those defendants. Defendant’s liability for restitution shall continue

unabated until either the Defendant has paid the full amount of restitution ordered herein, or every



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victim has been paid the total amount of his loss from all the restitution paid by the Defendant and

co-defendants in this matter.

                 B.    Apportionment Among Victims

       Pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United

States is paid. Restitution shall be paid to the victims identified in the Schedule of Victims,

attached hereto as Schedule A, on a pro rata basis, whereby each payment shall be distributed

proportionally to each victim based upon the amount of loss for each victim, as set forth more fully

in Schedule A.

       2.        Schedule of Payments

       Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other

assets of the Defendant, including whether any of these assets are jointly controlled; projected

earnings and other income of the Defendant; and any financial obligations of the Defendant;

including obligations to dependents, the Defendant shall pay restitution in the manner and

according to the schedule that follows:

       In the interest of justice, restitution shall be payable in installments pursuant to 18 U.S.C.

§ 3572(d)(1) and (2). The Defendant shall commence monthly installment payments of 20-percent

of his gross income, payable on the 15th day of each month, upon the commencement of his term

of supervision, either following his release from prison or the imposition of a non-custodial

sentence.

       3.        Payment Instructions

       The Defendant shall make restitution payments by certified check, bank check, money

order, wire transfer, credit card or cash. Checks and money orders shall be made payable to the

“SDNY Clerk of the Court” and mailed or hand-delivered to: United States Courthouse, 500 Pearl

Street, New York, New York 10007 - Attention: Cashier, as required by 18 U.S.C. § 3611. The

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Defendant shall write his/her name and the docket number of this case on each check or money

order. Credit card payments must be made in person at the Clerk’s Office. Any cash payments

shall be hand delivered to the Clerk’s Office using exact change, and shall not be mailed. For

payments by wire, the Defendant shall contact the Clerk’s Office for wiring instructions.

        4.      Additional Provisions

        The Defendant shall notify, within 30 days, the Clerk of Court, the United States Probation

Office (during any period of probation or supervised release), and the United States Attorney’s

Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation

Unit) of (1) any change of the Defendant’s name, residence, or mailing address or (2) any material

change in the Defendant’s financial resources that affects the Defendant’s ability to pay restitution

in accordance with 18 U.S.C. § 3664(k). If the Defendant discloses, or the Government otherwise

learns of, additional assets not known to the Government at the time of the execution of this order,

the Government may seek a Court order modifying the payment schedule consistent with the

discovery of new or additional assets.

        5.      Restitution Liability

        The Defendant’s liability to pay restitution shall terminate on the date that is the later of 20

years from the entry of judgment or 20 years after the Defendant’s release from imprisonment, as

provided in 18 U.S.C. § 3613(b). Subject to the time limitations in the preceding sentence, in the

event of the death of the Defendant, the Defendant’s estate will be held responsible for any unpaid

balance of the restitution amount, and any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue

until the estate receives a written release of that liability.

        6.      Sealing

        Consistent with 18 U.S.C. §§3771(a)(8) & 3664(d)(4) and Federal Rule of Criminal

Procedure 49.1, to protect the privacy interests of victims, the Schedule of Victims, attached hereto

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      /s/Rebekah Donaleski                       2/4/21
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                     SCHEDULE A: SCHEDULE OF VICTIMS



Victim Name                    Address                     Amount of
                                                           Loss/Restitution

                                                           $    500,000.00



                                                           $    500,000.00



                                                           $    300,000.00



                                                           $    300,000.00



                                                           $    280,000.00



                                                           $    250,000.00


                                                           $    192,500.00



Grand Total                                                $ 2,322,500.00




                                    5
